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                  IN THE UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF TEXAS
                          GALVESTON DIVISION

LUIS LEDESMA and,                    §
DAVID PAUL GONZALES                  §
                                     §
           Plaintiffs,               §
                                     §
           v.                        §   CASE NO.: 3:15-cv-00177
                                     §
AIRBUS HELICOPTERS, INC. f/k/a       §
AMERICAN EUROCOPTER CORP.            §
                                     §
           Defendant.                §


   DEFENDANT AIRBUS HELICOPTER, INC.’S RULE 12(B)(6) MOTION TO
    DISMISS PLAINTIFFS’ COMPLAINT FOR FAILURE TO STATE A
        CLAIM UPON WHICH RELIEF MAY BE GRANTED, AND
                    MEMORANDUM IN SUPPORT
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                    I.     NATURE & STAGE OF PROCEEDING

       This is one of four separate lawsuits filed in two different Texas federal courts by

Plaintiffs Luis Ledesma and David Paul Gonzales (“Plaintiffs”). They allege they were

injured when a Mexican registered helicopter (the “Helicopter”) on which they were

passengers made a temporary descent, but did not impact the water, while flying over the

Gulf of Mexico (the “Incident”). In the other three lawsuits they have alleged that the

incident was the result of the operational negligence of the Mexican operator, Transportes

Aereos Pegaso (“Pegaso”).

       In this fourth lawsuit, which they filed exactly three years to the day after the

Incident, they have named Airbus Helicopters, Inc. (“AHI”) as the sole defendant and

now assert for the first time that the Incident was caused by a defect in the Helicopter.

Despite having three years to investigate and discover facts pertaining to the incident,

including through litigation, their Complaint contains no information about how the

Helicopter was purportedly defective or how any defect or anything else AHI supposedly

did or did not do caused or contributed to the Incident. Instead, it merely restates legal

conclusions based on elements of their products liability causes of action. The Complaint

does not even identify what injuries Plaintiffs allegedly sustained.

       AHI brings this Rule 12(b)(6) motion to dismiss for failure to state a claim upon

which relief may be granted for two independent reasons. First, Plaintiffs’ claims against

AHI are barred by the applicable statutes of limitations. While Plaintiffs assert that this

action falls within the Court’s admiralty jurisdiction, it does not, as the Incident did not



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potentially impact maritime commerce, and thus fails to meet the Supreme Court’s test

for admiralty jurisdiction.   Therefore, the three-year statute of limitations for these

personal injury claims provided by maritime law does not apply, and they are untimely

under all other potentially applicable statute of limitations, the longest of which would

have expired one year before this lawsuit was filed. Second, even if the Court finds that

the claims are not time-barred, Plaintiffs’ Complaint should be dismissed in its entirety,

with prejudice, because each of its four causes of action rests exclusively on conclusory

allegations that fail to plead a legally sufficient factual basis upon which relief can be

granted against AHI under Supreme Court precedent.

                        II.    ISSUES TO BE RULED UPON

      1.     Whether admiralty jurisdiction is present under the test set forth by the

             Supreme Court in Jerome B. Grubart, Inc. v. Great Lakes Dredge & Dock

             Co., 513 U.S. 527 (1995), where, as here, the Incident was not of a kind

             that could potentially disrupt maritime commerce.

      2.     Whether Plaintiffs’ claims are barred by the applicable statute of

             limitations.

      3.     Whether, if not barred by the applicable statute of limitations, Plaintiffs’

             claims must be dismissed for failure to allege facts sufficient to support

             their causes of action against AHI, in accordance with the requirements set

             forth in FED. R. CIV. P. 8(a), Bell Atl. Corp. v. Twombly, 550 U.S. 544, 557

             (2007), and Ashcroft v. Iqbal, 556 U.S. 662 (2009).



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                            III.     STATEMENT OF FACTS

       Plaintiffs are residents of Arizona and Louisiana. [Dkt. 1 (Complaint ¶¶ 1.1-1.2).]

They assert that they were injured on July 13, 2012, while passengers on a Eurocopter

EC155 helicopter flying from the West Pegasus platform, a drilling rig located in the

Gulf of Mexico, to Matamoros, Mexico. [Id. at ¶ 4.1.] Plaintiffs allege that during the

flight, the Helicopter experienced a temporary “free fall” towards the surface of the water

before the pilots recovered and continued the flight without further incident to its

intended destination.    [Id.]     The Helicopter did not crash or impact the water, and

Plaintiffs do not allege how, in the absence of an impact, the Incident left them injured.

[Id., passim.] Nor do they allege any facts identifying their injuries. [Id. at ¶ 4.1.]

       Plaintiffs filed their Complaint against AHI on July 13, 2015, exactly three years

to the day after the Incident. [Id.] AHI is the sole defendant named in this action. [Id. at

¶ 1.3.] The Complaint asserts causes of actions against AHI for: (1) Negligent Design

and/or Manufacture; (2) Negligent Failure to Train/Warn; (3) Strict Product Liability; and

(4) Gross Negligence. [Dkt. 1, ¶¶ 5.1-5.11]. The Complaint does not state any factual

information identifying the nature of the alleged defect in either general or specific terms

or how it allegedly caused the Incident. [Id., passim.]

       Before suing AHI, these same Plaintiffs filed two prior lawsuits in this Court over

the Incident against their employer, Seadrill Americas, Inc. (“Seadrill”), and Pegaso, the

Mexican operator of the Helicopter, in which they alleged that the Incident was caused by

operational errors. [See Gonzales, et al. v. Seadrill Americas, Inc. et al., U. S. District


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Court, Southern District of Texas, Galveston Division, C.A. NO. 3:12-cv-00308 (“First

Action”), Dkt. 1, ¶¶ 9-11; Gonzales, et al. v. Transportes Aereos Pegaso, U. S. District

Court, Southern District of Texas, Galveston Division, C.A. NO. 3:14-cv-00320

(“Second Action”), Dkt. 1, ¶¶ 4.01-4.03.] They filed yet another, third, action, also

against Pegaso, in the Northern District of Texas on the same day they filed this lawsuit

against AHI. [See Gonzales, et al. v. Transportes Aereos Pegaso, U. S. District Court,

Northern District of Texas, Fort Worth Division, C.A. NO. 4:15-cv-00511 (“Third

Action”).]   That action also alleges that Pegaso’s operational negligence caused the

Incident. [Third Action, Complaint, Dkt. 1, ¶ 4.03.]

                         IV.    SUMMARY OF ARGUMENT

       Plaintiffs’ Complaint is subject to dismissal under Rule 12(b)(6) for two

independent reasons. First, their personal injury claims are time-barred. Plaintiffs have

not met their burden of alleging facts necessary to satisfy the Supreme Court’s test for

admiralty jurisdiction set forth in Jerome B. Grubart, Inc. v. Great Lakes Dredge &

Dock Co., 513 U.S. 527 (1995). Nor can they since the facts of the Incident do not

satisfy that test. Thus, the three-year statute of limitations provided by maritime law does

not apply, and the claims are time-barred under the laws of every other potentially

relevant jurisdiction – including Texas (where AHI is headquartered), Mexico (where the

incident occurred), Arizona (where Plaintiff Ledesma resides), and Louisiana (where

Plaintiff Gonzales resides).




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       Second, even if the action were not time-barred, Plaintiffs’ Complaint should be

dismissed because it fails to state any factual basis for a claim against AHI upon which

relief could be granted. Despite the three years that have passed since the Incident, and

despite having the benefit of discovery against the operator of the Helicopter in a prior

action, Plaintiffs’ Complaint alleges:

          • no facts that tie AHI to the Helicopter;

          • no facts that identify a design, manufacturing or informational/warnings

              defect;

          • no facts to establish that AHI designed, manufactured or distributed the

              Helicopter;

          • no facts as to what component or system of the helicopter AHI had a duty

              to warn or instruct about, or how it breached that duty;

          • no facts as to how an alleged defect or failure to warn or instruct caused or

              contributed to the Incident; and

          • no facts about how Plaintiffs were allegedly injured.

Plaintiffs do not even specify any facts about the nature of their injuries, which they

would certainly have knowledge about, other than to allege legal categories of

compensable damages.        Their Complaint merely states that the Incident happened.

Otherwise, it wholly fails to comply with the pleading standards set forth by the Supreme

Court in Bell Atl. Corp. v. Twombly, 550 U.S. 544, 557 (2007) and Ashcroft v. Iqbal, 556

U.S. 662 (2009).


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                                    V.      ARGUMENT

A.     FAILURE TO STATE A CLAIM, GROUND ONE: PLAINTIFFS’ CLAIMS
       ARE TIME-BARRED.

       Plaintiffs assert that this matter falls within the Court’s admiralty jurisdiction, 28

U.S.C. § 1333. [Dkt. 1 (Complaint ¶ 2.1).] If it did, the three-year statute of limitations

for personal injury claims provided by maritime law would apply. However, Plaintiffs’

Complaint fails to allege the facts necessary to invoke admiralty jurisdiction and

maritime law.     Thus, the Court – sitting in diversity1 – would apply the statute of

limitations of one the relevant jurisdictions, either Texas, Mexico, Arizona or Louisiana,

and Plaintiffs’ claims are time-barred under all of these jurisdictions’ statutes.

       1.      Admiralty Jurisdiction Is Lacking Because the Incident Was Not of the
               Type to Potentially Interfere with Maritime Commerce.

       The Supreme Court has long acknowledged that maritime law should have a

narrow application with regard to aviation incidents. In Exec. Jet Aviation v. City of

Cleveland, the Court stated that aviation incidents:

            [will] almost invariably have been attributable to a cause unrelated to
            the sea – be it pilot error, defective design or manufacture of airframe
            or engine, error of a traffic controller at an airport, or some other cause;
            and the determination of liability will thus be based on factual and
            conceptual inquiries unfamiliar to the law of admiralty.

409 U.S. 249, 270 (1972).




1
    The Court would appear to have diversity of citizenship subject matter jurisdiction
over this action, pursuant to 28 U.S.C. § 1332(a)(2), as Plaintiffs are alleged to be citizens
of Arizona and Louisiana, and AHI is a Delaware corporation with its principal place of
business in Texas. Presumably, Plaintiffs would allege that the amount in controversy
exceeds the jurisdictional amount.

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       Years later, in Grubart, Inc. v. Great Lakes Dredge & Dock Co., 513 U.S. 527

(1995), the Supreme Court established a three-requirement test for admiralty jurisdiction

in a tort action:

               The Location Requirement: This part of the test is a satisfied

               if the tort occurred on navigable waters, or if the injury

               suffered on land was caused by a vessel on navigable waters.

               The Connection Requirement: This part of the test is

               satisfied when: (a) the general features of the type of incident

               involved have a potentially disruptive impact on maritime

               commerce; and (b) the general character of the activity giving

               rise to the incident has a “substantial relationship” to a

               traditional maritime activity.

Id. at 534; see also Waddell v. Edison Chouest Offshore, No. G-14-170, 2015 WL

1285718, at *2 (S.D. Tex. Mar. 20, 2015).

       Applied to this case, even if the helicopter’s alleged “free fall” over the Gulf of

Mexico satisfied the location requirement, Plaintiffs have not alleged facts to satisfy the

connection requirement.      Nor can they, because what they do allege conclusively

establishes that the connection requirement cannot be met.

       The Supreme Court made clear in Grubart that “in flying an [aircraft] over the

water, the relationship is too attenuated” to maritime activity to meet the connection test.

Grubart, 513 U.S. at 540. In order to satisfy the “potential disruption” requirement of the

connection test, the alleged incident must be of a type or class of incidents that poses

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“‘more than a fanciful risk to commercial shipping.’” Williamson v. Petroleum

Helicopters, Inc., 32 F. Supp. 2d 456, 459 (S.D. Tex. 1999) (quoting Grubart, 513 U.S. at

538). The Incident alleged by Plaintiffs does not meet that requirement. Plaintiffs do not

allege that a crash occurred, or that the Helicopter, or any part of it, touched the water.

Nor can they, as they know that the Helicopter took off and landed safely at its

destination without it or any part of it ever touching the water and this was confirmed in

the First Action.2 The Incident was nothing more than a temporary loss of altitude.

       Post-Grubart authority from this district and others makes clear that aviation

incidents have the potential to disrupt maritime commerce when they actually or threaten

to disrupt commercial shipping lanes, such as in the case of a crash, where debris in the

water can interfere with commercial ships. Compare Williamson, 32 F. Supp. 2d at 459

(finding that “[t]he sinking of an aircraft in navigable waters is well within” the class of

incidents that could have an impact on maritime commerce), and Cheramie v. Panther

Helicopters, Inc., No. 14-1597, 2015 WL 693221, at *2 (E.D. La. Feb. 18, 2015) (“a

helicopter crash in the Gulf of Mexico is potentially disruptive of maritime commerce”),

with Tandon v. Captain’s Cove Marina of Bridgeport, Inc., 752 F.3d 239, 249-50 (2d Cir.

2
     A Declaration of Pegaso’s Chief Operating Officer, Jose Armando Erosa Zepeda,
submitted during the First Action, established that the Helicopter took off from
Matamoros, Mexico and flew to the West Pegasus oil rig, where Plaintiffs boarded. See
First Action, Declaration of Erosa Zepeda, Dkt. 20-2, at ¶ 4 [Exhibit A; Appx. pp 1-3].
The Helicopter then flew back to Matamoros, where Plaintiffs offloaded. Id. Erosa
Zepeda’s account is consistent with that of the flight’s captain, Jesus Velasco Soriano,
who provided a post-incident statement. See First Action, Pilot’s Statement, Dkt. 33-1
[Exhibit B; Appx. 4-6]. The Court can take judicial notice of this publically-available
document in deciding this Rule 12(b)(6) motion. See Norris v. Hearst Trust, 500 F.3d
454, 461, n.9 (5th Cir. 2007) (“it is clearly proper in deciding a 12(b)(6) motion to take
judicial notice of matters of public record”).
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2014) (finding that a fistfight on a dock did not have a potentially disruptive impact on

maritime commerce, because unlike a sinking plane, a collision between vessels, or a

collision between a vessel and an underwater structure it does not create any obstruction

to the free passage of commercial ships along navigable waterways, cannot lead to a

disruption in the course of the waterway itself, and cannot immediately damage nearby

commercial vessels), and Bd. of Comm’rs of the Southeast La. Flood Protection

Authority-East v. Tenn. Gas Pipeline Co., LLC, 29 F. Supp. 3d 808, 826 (E.D. La. 2014)

(finding that oil and gas production activities that allegedly contributed to coastal

corrosion did not have a potentially disruptive impact on maritime commerce in part

because “[i]t does not impede vessel traffic” and it did not “threaten the physical integrity

of vessels”).

       The Incident as alleged by Plaintiffs – and as established by the record in prior

litigation – was not potentially disruptive to maritime commerce. It is not enough that the

Incident occurred over navigable waters while transporting individuals from an oil rig. 3

Under Grubart, the nature of the incident must place maritime commerce at risk; it must

disrupt a waterway posing a risk to commercial vessels. No such risk was present in this




3
    Helicopter flights between shore and offshore drilling platforms have been found to
have a significant relationship to traditional maritime activities in cases that pre-date
Grubart, and thus did not specifically address the connection test’s requirement of impact
on maritime commerce. See, e.g., Offshore Logistics, Inc. v. Tallentire, 477 U.S. 207,
219 (1986); LeDoux v. Petroleum Helicopters, Inc., 609 F.2d 824, 824 (5th Cir. 1980).
In addition to pre-dating Grubart, these cases also involved facts where the aircraft
crashed into navigable waters. They therefore differ significantly from this case.

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case, where the Helicopter safely landed at its destination after temporarily losing altitude

over the Gulf of Mexico.

       2.     Plaintiffs’ Claims are Time-Barred.

       In the absence of admiralty jurisdiction, the statute of limitations that would

govern Plaintiffs’ claims in a diversity action would be determined by the Texas choice

of law rule. However, the Court need not engage in a conflicts of laws analysis to

determine what specific statute of limitations to apply, because the Plaintiffs’ claims are

time-barred under any of the potential sovereign’s laws.

       Texas and Arizona have two-year statutes of limitations for personal injury claims.

See TEX. CIV. PRAC. & REM. CODE § 16.003(a) (West 2015); Bowman v. Sanofi-Aventis

U.S., No. A-09-CA-192-SS, 2009 WL 5083431, at *2 (W.D. Tex. Apr. 16, 2009)

(“Defendant alleges dismissal based on the statute of limitations – which, for products

liability actions, is two years under Texas law . . .”); Bruning v. Hollowell, No. 05-13-

01033-CV, 2015 WL 1291378, at *3 (Tex. App. – Dallas Mar. 23, 2015, pet. denied)

(“[T]he statute of limitations for negligence, gross negligence, and negligent

misrepresentation is two years.”); Ogbolu v. Colgate Palmolive Co., No. 05-06-01480-

CV, 2008 WL 171228, at *1 (Tex. App. – Dallas Jan. 22, 2008, no pet.) (“The limitations

period for . . . products liability causes of action is two years.”); ARIZ. REV. STAT ANN.

§§ 12-542, 551, 681(5) (the statute of limitations for strict products liability is two years);

ARIZ. REV. STAT. ANN. § 12-542 (the statute of limitations period for negligence claims

is also two years); Long v. Ford Motor Co., No. CV 07-2206-PHX-JAT, 2008 WL



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29377516, at *2 (D. Ariz. July 23, 2008) (finding that the limitations period for

negligence and strict products liability claims is two years).

       Louisiana has a one-year time limit for personal injury claims. LA. CIV. CODE

ANN. Art. 3492; Delpit v. Ansell, Inc., No. Civ. A.97-1112, 2004 WL 551206, at *2 (E.D.

La. Mar. 17, 2004) (holding that in Louisiana delictual actions, such as negligence and

strict liability, are subject to a one-year limitations period).

       Mexico has either a one- or two-year time limit, depending on the case. See Trek

C. Doyal & Roberto Calvo Ponton, The Renaissance of the Foreign Action and a

Practical Response, 33 TEX. TECH. L. REV. 293, 310, n. 140 (2002) (“In most Mexican

jurisdictions, the limitations period for personal injury actions is two years. However, in

some jurisdictions the limitations period is only one year. The statute of limitations for

products liability actions is also one year.”) (citations omitted).

       Accordingly, under Texas, Arizona, Louisiana and Mexico law, Plaintiffs’

personal injury and products liability claims expired at least one year before this action

was commenced.         Consequently, Plaintiffs’ Complaint should be dismissed with

prejudice.4 Murthy v. Abbott Laboratories, 847 F. Supp. 2d 958, 979 (S.D. Tex. 2012)

(“A statute of limitations may support dismissal under Rule 12(b)(6) where it is evident

from the plaintiff’s pleadings that the action is barred . . .”) (quoting Jones v. Alcoa, Inc.,

339 F.3d 359, 366 (5th Cir. 2003)); Kansa Reinsurance Co., Ltd. v. Congressional Mortg.




4
     The Court still has jurisdiction to dismiss the action even if it finds admiralty
jurisdiction lacking because, as noted, it has diversity jurisdiction.

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Corp. of Tex., 20 F.3d 1362, 1366 (5th Cir. 1994) (dismissing, pursuant to Rule 12(b)(6),

a claim filed after the applicable statute of limitations had run).

B.     FAILURE TO STATE A CLAIM, GROUND TWO: FAILURE TO ALLEGE
       FACTS SUPPORTING CAUSES OF ACTION.

       If the Court finds that maritime law applies and that Plaintiffs’ claims are not time-

barred, the Complaint should still be dismissed because Plaintiffs have not alleged facts

regarding the nature of their products liability causes of action sufficient to support a

claim upon which relief may be granted.

       1.     Rule 8(a) Standard for Pleading Factual Bases of Claims.

       Under Twombly, 550 U.S. at 557, in order to state a claim in accordance with Fed.

R. Civ. P. 8(a), Plaintiffs must assert allegations that take their claim from “conclusory”

to “factual” and beyond “possible” to “plausible.” Rodriguez v. Gilead Sciences, Inc.,

No. 2:14-CV-324, 2015 WL 236621, at *2 (S.D. Tex. Jan. 16, 2015). To determine if a

claim has facial plausibility sufficient to withstand a motion to dismiss, the court must

determine if the pleaded factual content could allow it to draw the reasonable inference

that the defendant is liable for the alleged wrong. Montoya v. FedEx Ground Package

System, Inc., 614 F.3d 145, 149 (5th Cir. 2010) (quoting Iqbal, 556 U.S. at 662).

“[T]hreadbare recitals of the elements of a cause of action, supported by mere conclusory

statements do not suffice” in the face of a Rule 12(b)(6) challenge. Iqbal, 556 U.S. at

678. Similarly, conclusory allegations must be disregarded, as they are not entitled to the

assumption of truth. Id. Only facts are to be considered. Id. Further, the Complaint

must show that Plaintiff’s right to relief rises above mere speculation. Parker v. Missouri


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City, Tex., No. 4:12-CV-2484, 2015 WL 4431019, at *1 (S.D. Tex. July 17, 2015)

(quoting Montoya, 614 F.3d at 148).

       2.      Each of Plaintiffs’ Causes of Action Fails to Meet this Standard.

               a.      Cause of Action No. 1: Negligent Design and/or Manufacture.

       Under maritime law, a product is defective in design when “the foreseeable risks

of harm posed by the product could have been reduced or avoided by the adoption of a

reasonable alternative design by the seller or other distributor, or a predecessor in the

commercial chain of distribution, and the omission of the alternative design renders the

product not reasonably safe.” RESTATEMENT (THIRD) OF TORTS: PROD. LIAB. § 2(b)

(1998); Krummel v. Bombardier Corp., 206 F.3d 548, 552 (5th Cir. 2000) (applying

Restatement (Third) in maritime product defect case); see also Oswalt v. Resolute

Industries, Inc., 642 F.3d 856, 860 (9th Cir. 2011) (finding that the 5th, 9th, and 11th

Circuits have relied upon the Restatement (Third) in addressing product liability claims

under maritime law). A product “contains a manufacturing defect when the product

departs from its intended design even though all possible care was exercised in the

preparation and marketing of the product.” RESTATEMENT (THIRD) OF TORTS: PROD.

LIAB. § 2(a) (1998).

       There are no factual allegations in Plaintiffs’ Complaint to support these causes of

action. For the cause of action for Negligent Design and/or Manufacture, the Complaint

alleges in its entirety:

               5.1 Defendant was obligated to exercise reasonable care when
               designing, manufacturing, assembling, distributing, servicing,


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              inspecting, certifying as airworthy, and selling aircraft, components,
              and systems including the Helicopter.

              5.2 Defendant negligently designed, manufactured, assembled,
              distributed, serviced, inspected, certified as airworthy, sold, or
              otherwise placed in the stream of commerce the Helicopter,
              components and systems which were dangerous and unsafe for their
              intended uses.

              5.3 As a direct and proximate result of Defendant’s negligence,
              Plaintiffs sustained damages in an amount to be shown at trial.

       These are mere conclusory allegations that fall far below the Supreme Court’s

pleading standard. As to a design defect, the Complaint does not identify what system or

component of the Helicopter posed a foreseeable risk of harm, or how an alternative

design might have rendered the Helicopter safer, as required under the law. Compare

Hernandez v. Wood/Chuck Chipper Corp., No. 4:11-CV-597, 2012 WL 1836352, at *3-4

(E.D. Tex. Apr. 13, 2012) (finding that a plaintiff had stated a claim for design defect

where plaintiff had made specific allegations regarding the defect in the design and a

reasonable alternative design), with Corwin v. Connecticut Valley Arms, Inc. et al., 74 F.

Supp. 3d 883, 888-89 (N.D. Ill. 2014) (finding that plaintiff had failed to state a claim for

negligence in a product liability action where no facts were alleged to identify a defect);

see also Rodriguez, 2015 WL 236621, at *3 (dismissing a design defect claim for failing

to plead facts supporting a safer alternative design (as required under Texas law, but also

required under maritime law)).

       Similarly, as to a manufacturing defect, the Complaint does not allege what part or

component of the Helicopter purportedly deviated from its intended design or

specifications. Hernandez, 2012 WL 1836352, *4 (finding that a plaintiff had failed to

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state a claim for manufacturing defect where there was no allegations regarding how the

product deviated from its specifications); see Bem v. Cheung et al., No. 152485 MMC,

2015 WL 4573204, at *1 (N.D. Cal. July 29, 2015) (finding that a plaintiff failed to state

a claim for manufacturing defect where no facts describing the particularly defect, injury

sustained, or manner in which defendant was negligent were pled).

                 b.   Cause of Action No. 2: Negligent Failure to Train or Warn.

       A product contains a warning defect when “the foreseeable risks of harm posed by

the product could have been reduced or avoided by the provision of reasonable

instructions or warnings by the seller or other distributor, or a predecessor in the

commercial chain of distribution, and the omission of the instructions or warnings

renders the product not reasonably safe.” RESTATEMENT (THIRD) OF TORTS: PROD. LIAB.

§ 2(c) (1998).

       Plaintiffs’ Complaint does not allege any facts to support such a claim. For its

cause of action entitled Negligent Failure to Train or Warn, the Complaint states in its

entirety:

            5.4 Defendant knew or should have known there were deficiencies or
            defects in the Helicopter, its operating system, and/or its component
            parts before the incident made the basis of this suit where the aircraft
            went into free fall, without warning, during normal flight operations.

            5.5 Defendant knew or should have known that said deficiencies or
            defects would cause a system operational failure in the Helicopter that
            would cause injury.

            5.6 Defendant is liable for negligence based on its failure to train the
            pilots and warn users of said deficiencies or defects, including the risk
            of system operational failure.


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          5.7 As a direct and proximate result of Defendant’s negligence,
          Plaintiffs sustained damages in an amount to be shown at trial.

       Again, the Complaint is devoid of facts identifying the nature of any alleged risk

posed by the Helicopter, or how a warning or instruction could have avoided the risk.

              c.     Cause of Action No. 3: Strict Liability.

       In support of this cause of action, Plaintiffs merely assert that:

          5.8 Defendant is in the business of designing, manufacturing, servicing,
          inspecting, certifying and selling helicopters.

          5.9 At all material times, the Helicopter and its systems and components
          were in a dangerous and defective condition, making them unsafe for
          their intended uses.

          5.10 As a direct and proximate result of the defective and dangerous
          condition of the Helicopter, systems and components, Plaintiffs
          sustained damages in an amount to be shown at trial.

       Plaintiffs also do not allege any factual basis for these conclusory statements that

AHI was involved with the design, manufacture or distribution of the Helicopter, which

they must prove to establish AHI’s strict liability for a product defect (assuming they had

identified a defect with legal sufficiency). Their general, conclusory assertions about

AHI’s involvement are exactly the type of “bare assertions devoid of further factual

enhancement [that] fail to constitute well-plead facts for Rule 12(b)(6) purposes.” Tran v.

Thai, No. H-08-3650, 2010 WL 723633, at *2 (S.D. Tex. Mar. 1, 2010) (quoting Nemet

Chevrolet, Ltd. v. Consumeraffairs.com, Inc., 591 F.3d 250, 255 (4th Cir. 2009)).

              d.     Cause of Action No. 4: Gross Negligence.

       Gross negligence under maritime law is “defined as harm willfully inflicted or

caused by gross or wanton negligence.” Coastal Iron Works, Inc. v. Petty Ray

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Geophysical Div. of Geosource, Inc., 783 F.2d 577, 582 (5th Cir. 1986). Having failed to

plead a claim for negligence, Plaintiffs cannot state a claim for gross negligence.

Gonzalez v. Bayer Healthcare Pharmaceuticals, Inc., 930 F. Supp. 2d 808, 818 (S.D.

Tex. 2013).     Indeed, Plaintiffs’ claim for gross negligence relies upon the same

insufficient conclusory allegations that render their other causes of action subject to

dismissal. Plaintiffs claim that AHI’s acts or omissions “involve[d] an extreme degree of

risk” without identifying anything specific about those acts and omissions. [Complaint ¶

5.11.] Plaintiffs also claim that AHI took those unidentified actions with awareness of

the risks involved, but do not identify those risks. Having alleged no facts to support this

claim, Plaintiffs’ claim for gross negligence should be dismissed.

              e.      Other Pleading Deficiencies Applicable to All Causes of Action.

       Plaintiffs also fail to allege facts that support a causal connection between an

unidentified defect or failure to warn/instruct, the Incident and their alleged injuries,

which is also a required element of their pleading. Gonzalez, 930 F. Supp. 2d at 818

(finding a strict liability claim insufficient where it failed to identify the nature of the

defect, indicate how it made the product unreasonably dangerous, or explain how the

product caused the alleged injuries – “formulaic recitation of the elements of a strict

liability claim is insufficient to state a claim under Rule 12(b)(6)”); Geer v. Allstate Fire

& Cas. Ins. Co., No. 2:15-CV-95, 2015 WL 4569520, at *2 (S.D. Tex. July 28, 2015)

(“Threadbare recitals of the elements of a cause of action or mere conclusory statements

do not suffice as factual allegations.”).



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      Plaintiffs do not even allege a factual basis for their alleged injuries. Little v.

KPMG LLP, 575 F.3d 533, 535 (5th Cir. 2009) (dismissal under [Rule 12(b)(6)]

appropriate where plaintiff “failed to plead actual, concrete injury”). Plaintiffs merely

assert that as a result of the “free fall” they suffered severe and debilitating injuries

[Complaint ¶ 4.1], but they do not identify what those injuries are, or how they were

connected to the events onboard the Helicopter. If there is one part of the Complaint that

Plaintiffs should without a doubt possess the factual information to make a legally

sufficient allegation, it is their damages allegations. However, even though Plaintiffs

should have specific knowledge regarding their alleged injuries, especially three years

after the Incident, they rely solely on conclusory claims of mental anguish, pain and

suffering, and disfigurement, without identifying an actual injury or a causal connection

between that injury and the Incident. Having failed to adequately allege the factual bases

for any injuries, an element that is a foundation to their entire lawsuit, Plaintiffs’

Complaint should be dismissed. See Coghlan v. Aquasport Marine Corp., 73 F. Supp. 2d

769, 771-74 (S.D. Tex. 1999) (finding that “Plaintiffs have failed to allege the sort of

concrete and palpable injuries required to state a claim for relief” . . . and noting the

“copious precedent requiring damages to be actual and palpable in order to be legally

cognizable”). See also Bem, 2015 WL 4573204, at *1 (dismissing cause of action on a

12(b)(6) motion where Plaintiff “fail[ed] to plead any facts describing . . . the injury

sustained”); Nguyen v. Boeing Co., No. C10-0415MJP, 2010 WL 2102501, at *4 (W.D.

Wash. May 25, 2010) (dismissing claim, in part, because plaintiff “[did] not plead with



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any specificity . . . what injury was suffered”); Stearns v. Select Comfort Retail Corp.,

763 F. Supp. 2d 1128, 1155 (N.D. Cal. July 21, 2010).

       3.     The Court Should Not Grant Leave to Amend

       Leave to amend should not be granted where there is no indication that the defects

in the complaint could be cured, rendering any proposed amendment futile as it would

not survive a motion to dismiss. Young v. United States Postal Serv., No. 14-51110,

2015 WL 4548014, at *3 (5th Cir. July 29, 2015); Hall v. Smith, 497 Fed. Appx. 366, 375

(5th Cir. 2012).

       Under the circumstances, any request by Plaintiffs for leave to amend should be

denied. Three years to the day after the Incident, after having already litigated for several

years against their employer, Seadrill, and the Helicopter’s operator, Pegaso, during

which time they alleged that the Incident resulted from operational error, Plaintiffs, at the

very last moment decided to sue AHI. They apparently did so with absolutely no factual

basis for doing so, despite having three years to investigate the Incident’s cause(s) and

circumstances(s) – or, if they did have a factual basis, they intentionally failed to include

any such information in their Complaint, which itself would warrant dismissal.

                                  VI.    CONCLUSION

       For the foregoing reasons, Defendant AHI respectfully requests that the Court find

that the Plaintiffs’ Complaint fails to state a claim upon which relief may be granted

because: (1) the claims are time-barred by the applicable statute of limitations; or, in the

alternative, (2) the Complaint fails to plead facts sufficient to support the causes of action

asserted against AHI, and that the Plaintiffs’ Complaint be dismissed with prejudice.

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Dated: September 3, 2015            Respectfully submitted,


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                            CERTIFICATE OF SERVICE

      I certify that on September 3, 2015, a copy of the this pleading has been forwarded

to all unrepresented individuals and all counsel of record by the Court's CM/ECF

electronic notice system, telecopy transmission, email, hand delivery, or by placing same

in the U.S. Mail, postage prepaid.

                                         /s/ C. Scott Jones
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